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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )               Case No. 8:11CR287
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )                     ORDER
STEPHON L. DEAN,                              )
                                              )
                     Defendant.               )


       This case is before the court on the defendant Stephon L. Dean's Motion for
Release from Pretrial Detention (#157). The motion is denied without hearing.
       The defendant's motion proposes placement of the defendant with a third-party
custodian who would supervise his compliance with the court's order of release. A review
of the docket in this case discloses that the defendant, on March 14, 2012, pled guilty to
Count IX of the superseding indictment, distribution of crack cocaine.           Defendant's
sentencing is currently scheduled before Chief Judge Laurie Smith Camp on June 11, 2012
at 2:00 P.M., in Courtroom No. 2.
       After review of the initial Pretrial Services report of November 10, 2011 (#68), I find
the proposed placement does not significantly address the court's concerns as to
appearance of the defendant at further hearings. A review of his prior record shows eleven
(11) failures to appear beginning in 1989 and continuing through 2011. Because of the
defendant's numerous failures to appear, I find his placement with a third-party custodian
fails to rebut the presumption of detention, 18 U.S.C. § 3142(e). I find the defendant should
remain in custody.
       IT IS ORDERED: The defendant's Motion for Release From Pretrial Detention
(#157) is denied without hearing.
       Dated this 6th day of April 2012.

                                           BY THE COURT:

                                           S/ F.A. Gossett, III
                                           United States Magistrate Judge
